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Form 285
                                     UNITED STATES BANKRUPTCY COURT
                                                    Middle District of North Carolina
                                                       101 S. Edgeworth Street
                                                        Greensboro, NC 27401

                                                                                                  Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett       xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

  Debtor(s)


                  NOTICE OF APPOINTMENT OF TRUSTEE AND MEETING OF CREDITORS


DATE FILED: 6/8/22
CREDITORS MEETING DATE: 7/11/22
TAKE NOTICE that Anita Jo Kinlaw Troxler is appointed Trustee; and take further
NOTICE that, pursuant to Standing Order of this Court, the Debtor, within four (4) days after receipt of this notice shall contact the Trustee's
Office,

                                                         Greensboro Chapter 13 Office
                                                             500 W. Friendly Ave.
                                                                P.O. Box 1720
                                                         Greensboro, NC 27402−1720


at (336) 378−9164 for an interview appointment. Pursuant to 11 U.S.C. Section 1326 the Debtor shall commence making the payments
proposed by the plan within 30 days after the plan is filed; and take further
NOTICE that the Meeting of Creditors pursuant to Section 341 (a) of the Bankruptcy Code herein be held in:


                                                            Creditors Meeting Room
                                                                  First Floor
                                                            101 South Edgeworth St.
                                                             Greensboro NC 27401


on the date hereinabove noted at 01:30 PM; and take further
NOTICE that the Debtor shall appear at the time and place appointed for the meeting of creditors for the purpose of being examined as
provided by the Bankruptcy Code; and take further
NOTICE that after the conclusion of the Meeting of Creditors, all parties in interest and creditors will be notified of the deadline for filing
objections to confirmation of the plan and the time, date and place of the hearing on any timely filed objections; and take further
NOTICE that pursuant to the Standing Order of this Court, the Debtor must maintain adequate collision insurance on any and all vehicles
which are subject to lien and owned by the Debtor. In the event the Debtor fails to do so, the Trustee is authorized to direct that the vehicle be
stored until evidence of proper insurance coverage is submitted; and take further notice that the Debtor may not incur additional debts nor
transfer assets without authorization from the Trustee or the Court.

Date: 6/9/22                                                                                      U.S. Bankruptcy Court

cc: Debtor(s)
    Attorney for Debtor(s)                                                                        OFFICE OF THE CLERK/
    Standing Trustee
